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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

   v.
                                                         Case No. 1:21-cr-00053-CJN
EDWARD JACOB LANG,

   Defendant.




                 NOTICE OF FILING PROPOSED SCHEDULING ORDER

        NOW COMES the United States of America, through undersigned counsel, and

respectfully provides notice as follows regarding this Court’s instruction during the February 23,

2022 status conference directing the parties to confer and jointly prepare a scheduling order

conforming to a sample order provided by the Court:

        1.   At the February 23, 2022 status conference, the parties advised the Court of their

agreement on a schedule for filing certain pre-trial motions. The Court approved of that schedule

and directed the parties to jointly prepare a scheduling order for trial incorporating the agreed-

upon schedule for motions and addressing various additional deadlines based on a sample order

received from chambers. Defense counsel expressed the need to confer with the defendant before

agreeing to any trial date.

        2.    The undersigned sent an electronic mail message to both of the defendant’s counsel

of record on March 22, 2022 seeking input on scheduling a trial date, but received no response to

that message.

        3.   On March 29, 2022, the undersigned sent an electronic mail message to both of the

defendant’s counsel of record that forwarded a proposed scheduling order prepared by the
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prosecution. Based on conversations with defense counsel on February 22 and February 23, 2022

reflecting the potential to agree on a trial set in October, 2022, the draft order from the government

proposed an October trial date, and used that proposed date to determine scheduling for other pre-

trial deadlines. The draft order in paragraph 3 incorporated the schedule for filing certain pretrial

motions that the parties proposed at the February 23, 2022 status conference with approval from

this Court. The United States received no response to the message forwarding the proposed order.

       4.      On March 31, 2022, the undersigned attempted to call Steven A. Metcalf II, one of

the defendant’s attorneys of record, at a number he had identified to the undersigned and to

chambers as his cellular phone number. The undersigned left a message asking for a return call

and leaving the cellular telephone number for the undersigned. No return call was received.

       5.    On April 1, 2022, the undersigned sent an electronic mail message to both counsel of

record providing an earlier version of this notice and a second copy of the proposed scheduling

order. The message noted the prosecution intended to file the notice and order on April 1, 2022.

Steven A. Metcalf II responded in an electronic message that he had not reviewed the previous

messages regarding the scheduling order and would be unable to do so before the weekend. He

asked for the United States to delay filing until Monday; however, the undersigned is traveling to

the District of Columbia on Monday and is unwilling for that reason to delay filing of its proposed

order. The United States has received no response from Mr. Metcalf’s co-counsel.

       5. The prosecution has not been able to obtain scheduling input from the defense. In an

effort to comply with this Court’s instruction to the extent possible, the United States is filing the

government’s version of a proposed scheduling order. If the prosecution is able to confer with

defense counsel and reach an agreement on scheduling before the status conference begins, the

undersigned will advise the Court.



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                             Respectfully submitted,

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